         Case 1:19-cv-01348-EMR Document 15 Filed 06/15/20 Page 1 of 7




            In the United States Court of Federal Claims


 PETRINA SMITH,

                   Plaintiff,

                        v.                                  No. 19-1348 C

 THE UNITED STATES,                                         Filed: June 15, 2020

                   Defendant.



                                     PROTECTIVE ORDER

       On June 11, 2020, the parties jointly moved for a protective order. For good cause

shown, the parties’ motion is GRANTED. Accordingly, it is hereby ORDERED that defendant

is authorized to release to plaintiffs’ counsel and to the Court in this case, the names, email

addresses, home addresses, payroll reports and other similar records protected by the Privacy

Act, 5 U.S.C. § 552a, without obtaining prior written consent of the individuals to whom the

records pertain. Such disclosure is subject to the conditions set out in this order.

1. For purposes of this order, the term “record” shall have the same meaning as set forth in

   the Privacy Act, 5 U.S.C. §§ 552a(a)(4) and (a)(5).

2. The phrase “protected information” as used in this Order indicates information

   protected by the Privacy Act. However, consents to sue forms signed by members

   of the collective, are not deemed protected information for purposes of this

   Protective Order.

3. Protected information shall be used by plaintiffs, their representative(s), and experts


                                                  1
         Case 1:19-cv-01348-EMR Document 15 Filed 06/15/20 Page 2 of 7



   only for the purpose of litigating this case, including any subsequent appeals, and shall

   not be disclosed to the public or any other person or entity for any reason other than for

   purposes of litigating this case, including any subsequent appeals.

4. When producing protected information to the other party, a party shall clearly

   designate the material as such, marking the title page and each page containing

   protected information as follows:

                        PROTECTED/CONFIDENTIAL MATERIAL

                  TO BE DISCLOSED ONLY IN ACCORDANCE WITH

                U.S. COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

5. For any materials that a party produces in native electronic form, the disclosing party

   may designate the electronic material as protected information by affixing to a disc on

   which the electronic documents are being produced, or the cover to the disc, the protective

   order language identified in paragraph 4.

6. The party disclosing or producing the documents or information to be designated as

   protected information (in whole or in part) shall first have made a good-faith determination

   that the material is protected information. Material is considered protected information when

   so designated in the manner described in paragraph 4, unless a challenge is lodged. After

   disclosure or production of any protected information, all copies made of that material, and

   all notes made therefrom and all references made thereto, of any kind whatsoever, shall also

   constitute protected information.

7. If either party or a party’s counsel identify documents or information as protected

   information that was inadvertently not designated as such, the identifying party or its

   counsel shall immediately provide written notice to the other party. The document or



                                                2
         Case 1:19-cv-01348-EMR Document 15 Filed 06/15/20 Page 3 of 7



   information will then be subject to the provisions of this Protective Order, provided that

   within 10 days of such notice to the other party, the producing party shall provide to the

   receiving party a new version of the document or information with the designation as set

   forth in paragraph 4. Within 15 days of receipt of the timely provided new, designated

   document or information, the receiving party shall return the original document or

   information to the producing party, or certify that the original document or information

   has been destroyed.

8. Except as otherwise ordered by this Court, protected information may be disclosed to

   only the following persons: (a) counsel for plaintiffs in this action; (b) partners, associates,

   secretaries, paralegals, assistants, and employees or contractors of such counsel to the

   extent reasonably necessary to render professional services in this case; (c) experts,

   consultants, or other persons retained by either party to assist in the calculation of

   damages; and (d) the Court and Court personnel. Protected information may also be

   disclosed to plaintiffs in this litigation, except that no plaintiff is authorized to view or

   otherwise obtain protected information that pertains to another person. Counsel for

   plaintiffs may, however, disclose, for the purposes of this litigation only, the protected

   information of one plaintiff to another plaintiff when counsel for plaintiffs has obtained

   consent from the plaintiff to whom the protected information relates. Notwithstanding the

   foregoing, counsel may disclose to plaintiffs documents containing protected information

   if counsel redacts all personal identifying information from the document.

9. Nothing in this Protective Order restricts or otherwise alters the manner in which

   employees of the United States may obtain, distribute, or use protected information. The

   use of protected information by United States employees is governed by existing statutes



                                                  3
         Case 1:19-cv-01348-EMR Document 15 Filed 06/15/20 Page 4 of 7



   and regulations and is not affected by this Protective Order.

10. All individuals indicated in paragraph 8, above, to whom protected information is

   disclosed shall be informed of and shall agree with the terms of this order and shall not

   otherwise disclose protected information in the protected documents to the public or to any

   person or entity. In addition, plaintiffs’ counsel and all individuals indicated in paragraph

   8(a)-(c) shall acknowledge their agreement to comply with the provisions of this order by

   signing a copy of the attached acknowledgment form. Counsel will retain copies of the

   acknowledgment forms until such time as this litigation, including all appeals, is

   concluded. If plaintiffs’ counsel wishes to disclose protected information to any persons

   other than those indicated in paragraph 8, above, counsel must obtain defendant’s consent.

   If defendant does not consent to disclosure, then plaintiffs’ counsel may, on motion, seek

   modification of this order from the Court.

11. The provisions of this Protective Order shall not be considered as preventing any

   use of Privacy Act information otherwise allowable by law.

12. A party may redact protected information from documents to be used as

   deposition exhibits.

13. With regard to any depositions that may be taken, either party may, on the record of

   the deposition or within seven calendar days after receipt of the transcript, designate any

   portion or portions of the deposition as containing protected information. Prior to the

   expiration of the seven calendar days described in the preceding sentence, neither party

   may disclose the deposition transcript to anyone who did not participate in the deposition,

   other than those persons granted access to protected information pursuant to this Protective

   Order.


                                                 4
          Case 1:19-cv-01348-EMR Document 15 Filed 06/15/20 Page 5 of 7



14. All deposition transcripts, any copies thereof, and the portions of the transcripts so

   designated as containing protected information may be disclosed only as provided in this

   Order.

15. Each party reserves the right to request the Court to modify the terms of this

   Protective Order at any time, and each party reserves the right to oppose any request to

   modify the terms of the Protective Order.

16. Protected information may be presented to the Court only under seal.

17. Submissions to the Court containing protected information must be in two versions:

   a confidential version and a redacted, public version. The title page and each page

   containing protected information, including submissions filed electronically, shall be

   clearly marked as follows:

                         PROTECTED/CONFIDENTIAL MATERIAL

                    TO BE DISCLOSED ONLY IN ACCORDANCE WITH

                              U.S. COURT OF FEDERAL CLAIMS

                                      PROTECTIVE ORDER

The redacted, public version shall be filed with the Court within seven calendar days of the

filing of the confidential version.

    a. The confidential version must identify the specific portion of the material for which any

      party has claimed protection by bracketing the protected information. A party proposing

      to file a submission must identify all information that it has reason to believe is

      protected by this Order.

      b. The public version shall be marked as such in a conspicuous manner on the cover

      page. Protected information shall be blacked out or deleted in a manner that indicates


                                                  5
         Case 1:19-cv-01348-EMR Document 15 Filed 06/15/20 Page 6 of 7



      that material has been removed. The public version shall be filed with the Court and

      shall be publicly available.

18. Unredacted copies of documents that contain protected information, or any documents or

   pleadings containing protected information, must be either returned to the defendant or

   destroyed upon the conclusion of this case, including any subsequent appeals. Within

   forty-five days after the conclusion of this case and any subsequent appeals, plaintiffs’

   counsel must certify in writing that all unredacted copies, documents, or pleadings containing

   protected information have been returned or destroyed, including those in the possession of their

   employees or agents. However, plaintiffs’ counsel may maintain one paper copy and one

   electronic copy of any protected information and documents containing protected information in

   its file for this case, including all pleadings, filings, transcripts, exhibits, correspondence, and any

   notes or summaries relating to the protected material, provided that the documents are clearly

   marked as required by this order.

19. This order does not constitute any ruling on the question of whether any document or

   information is properly discoverable and does not constitute any ruling on any potential

   objection to discoverability, relevance, or admissibility, other than objections based on the

   Privacy Act.

      IT IS SO ORDERED.




                                                                s/Eleni M. Roumel_
                                                                  Eleni M. Roumel
                                                                        Judge




                                                      6
           Case 1:19-cv-01348-EMR Document 15 Filed 06/15/20 Page 7 of 7




               In the United States Court of Federal Claims


PETRINA SMITH,

                   Plaintiff,

                        v.
                                                            No. 19-1348 C
THE UNITED STATES,

                   Defendant.



                                             EXHIBIT 1

          I, _________________ declare:


          1.     I have received a copy of the protective order in this litigation. I have

examined and understand the provisions of the protective order.

          2.     I will comply with all of the provisions of the protective order. I will hold in

confidence, will not disclose to anyone other than those persons specifically authorized by the

protective order, and will not copy or use except for the purposes of this litigation, any Protected

Information (as defined in the protective order) which I receive in this

action.


                                         Executed this _______________ day of ______________

                                                          at ____________________________

I declare under penalty of perjury that the foregoing is true and correct.

                                                                  _____________________
                                                                       (Signature)


                                                  7
